
ON MOTION FOR REVIEW OF AWARD OF ATTORNEY’S FEES AND COSTS
BENTON, C.J.
Appellant’s motion for review of award of attorney’s fees and costs is granted in part. The circuit court shall reduce the award against Kevin S. Sanders by any amount attributable to any litigation other than the proceedings in this court that eventuated in the denial of the motion for rehearing (filed on December 15, 2009) by order entered March 25, 2010.
In the absence of even a motion for attorney’s fees in the supreme court, there is no basis for an award of attorney’s fees incurred in proceedings in the supreme court. See Milanick v. Osborne, 6 So.3d 729, 731 (Fla. 5th DCA 2009) (holding Osborne not entitled to attorney’s fees incurred defending against Milanick’s attempt to obtain discretionary review of the Fifth District’s opinion in the supreme court where Osborne “did not request an award of fees incurred with respect to the supreme court proceedings”); Respiratory Care Servs., Inc. v. Murray D. Shear, P.A., 715 So.2d 1054, 1056 (Fla. 5th DCA 1998) (holding motion for attorney’s fees was necessary predicate).
HAWKES and THOMAS, JJ., concur.
